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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 LAUREL J. MONTOYA
   Assistant United States Attorneys
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff

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 8                                    IN THE UNITED STATES DISTRICT COURT

 9                                        EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                                  CASE NO. 1:11-cr-00113 AWI
12                                         Plaintiff,           STIPULATION AND ORDER TO
                                                                CONTINUE SENTENCING HEARING
13   v.
14   TONY CHAO FAN LUO,
15                                         Defendant.
16

17             IT IS HEREBY STIPULATED by and between the parties hereto through their respective

18 counsel that the sentencing hearing in the above-captioned matter presently set for September 29,

19 2014 may be continued to October 27, 2014 at 10:00 a.m. It is further stipulated by and between the
20 parties that the formal objections be filed on or before October 20, 2014.

21             Unforeseeable events that have recently occurred prevent this matter from proceeding as

22 presently set and necessitate the matter being continued as requested in this stipulation.

23 DATED: September 15, 2014                            /s/ Laurel J. Montoya
                                                        LAUREL J. MONTOYA
24                                                      Assistant United States Attorney
25 DATED: September 15, 2014                            /s/ Doron Weinberg
                                                        DORON WEINBERG
26                                                      Attorney for Defendant Tony Chao Fan Luo
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28 ///
                                                            1
29        Luo Stipulation and Proposed Order

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 1                                         ORDER

 2 IT IS SO ORDERED.

 3 Dated: September 16, 2014

 4                                         SENIOR DISTRICT JUDGE

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29    Luo Stipulation and Proposed Order

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